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Good evening


Back on July 15th 2020 we brought a Proposal to the Finance
comm. for a contract with Inception Technologies for the
scanning of the Assessing Property record files. This contract
in the amount of 59,638. was being charged against GOFFER
funds. At that time, we clarified this was only an estimate and
an additional charge could come forward should there be more
records than estimated.
To date $52,245. has been invoiced leaving a balance of 7,392.


Over the past year and half we have provided boxes of records
to Inception, often 100 boxes at a time. They are signed out
and signed in. These records have been scanned into a
Docuware database. Over the past year and a half a number of
other changes have taken place. During the shutdown caused
by COVID, we were slowed significantly on the number of boxes
which could be transferred.
Ms.Ochoa, an employee of Admin Services, who became a
trainer on the system, left the city. Five other employees within
Assessing familiar with the project also left the city and five
new employees were hired.
The Assessing department has been focusing on the tasks that
are statutorily required by the state of NH, abatements,



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Exemption and credit applications and a Full Measure and List
Revaluation.


Currently, we have 28 boxes which are at Inception in the
process of being scanned against the original contract. They
also have another 55 boxes which will need to quoted and
brought to Finance on a change order. We also have 98 boxes
within the Assessing department ready for scanning. These 153
boxes plus an additional 20GB of storage have been quoted for
44K. The Assessing department has funds currently with their
existing budget. We are working with Inception to bring the
quotes to the Finance committee. This does not include the
public interface which would allow the public to access the
documents, which is quoted at $7,500.


As we stated back in July of 2020, the files uploaded to
Docuware remain in a private status until they are reviewed by
Assessing staff. Files will have to be reviewed and private
information redacted and then saved as public documents. We
are currently working to arrange training for staff. The current
revaluation and preparation for the July tax bills must take
priority. This was a huge undertaking for the department,
29,000+ property record files, and I am proud of their
accomplishments in the misdt of other challenges.




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Last week, Mr. Vincent and I received several emails on the
project from a resident copying the State DRA and the Nashua
Police Department. Information and misinformation in those
emails caused me to reach out to our vendor. During a
conversation with Ray Feoli, President of Inception Technology
he informed me that a “city employee” named Ms. Ortolano,
had also reached out to him regarding the project and indicated
she could expedite payment on the remaining project.
I informed Mr. Feoli she was not employed by the city. For
many reasons this was concerning to him. I informed him I
would update the Board on the project especially with the new
quote going to Finance. He indicated he was happy to speak
with the board should you request. Sunday, I received the email
from Mr. Feoli that is on your desks this evening. Today, I was
contacted by Mr. Feoli and he expressed that his office had
been called four times this morning by Ms. Ortolano, which he
had not returned.
Mr. Feoli and Inception Technologies have been a pleasure to
work with and provide the city exceptional service. We hope
that will continue into the future.




                                                                KLEINER 000003
